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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


 ANNEX BOOKS, INC., et al.,                   )
                                              )
              Plaintiffs,                     )
                                              )
        vs.                                   )       1:03-cv-918-SEB-TAB
                                              )
 CITY OF INDIANAPOLIS,                        )
                                              )
              Defendant.                      )


      ORDER ON DEFENDANT’S MOTION FOR RECONSIDERATION OF THE
         MAGISTRATE JUDGE’S DECISION ON MOTION TO COMPEL


        This cause is before the Court on Defendant’s Motion for Reconsideration of the

 Magistrate Judge’s February 18, 2011 Order on Motion to Compel [Docket No. 193],

 filed on March 4, 2011. For the reasons detailed in this entry, we GRANT IN PART and

 DENY IN PART Defendant’s Motion.

 I.     Electronic Bookkeeping Data

        In his February 18, 2011 Order, the Magistrate Judge denied Defendant’s request

 for Plaintiffs’ electronic bookkeeping records. Defendant subsequently filed the instant

 motion objecting to the Magistrate Judge’s decision as well as a Supplemental Motion to

 Compel these documents. On July 7, 2011, before either of Defendant’s motions was

 ruled upon, Plaintiffs served on Defendant delivery of four CDs containing their

 electronic bookkeeping records through December 31, 2010. However, on July 29, 2011,
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 Defendant notified the Court that these documents are not in readable form. Following a

 hearing on Defendant’s Supplemental Motion to Compel, on August 1, 2011, in light of

 new evidence, the Magistrate Judge ordered Plaintiffs to disclose this information to

 Defendant in a readable form. On August 19, 2011, Plaintiffs filed a motion seeking an

 extension of time within which to respond to Defendant’s assertion that the produced

 documents are unreadable. Because the Magistrate Judge is still addressing this issue

 with the parties, it is not ripe for our review at this time. Accordingly, we DENY

 Defendant’s Motion as to this issue.

 II.    Tax Records

        Plaintiffs are a part of a conglomerate of adult businesses, some of which are

 located outside of Indianapolis, that file a consolidated tax return. During discovery,

 Defendant requested Plaintiffs’ tax records, including those that showed income and

 expenses of the parent company and other adult stores within the conglomerate. In his

 February 18, 2011 Order, the Magistrate Judge ordered Plaintiffs to produce those

 portions of the tax returns with material specific to Plaintiffs, but held that, in light of the

 sensitive nature of the documents and his determination that Defendant’s explanation of

 their relevance was “mere speculation,” Plaintiffs did not have to produce the portions of

 the tax returns which showed information from related entities within the conglomerate.

        However, the inability to foresee the exact nature of the information that will be

 revealed in requested documents does not automatically render such documents outside

 the scope of permissible discovery. In order to assess the accuracy of Plaintiffs’

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 calculation of lost profits allegedly attributable to the ordinance at issue in this case, it

 will likely be relevant to compare Plaintiffs’ revenue stream with other stores within

 Plaintiffs’ conglomerate who were not subject to the Indianapolis ordinance during the

 same time period. Accordingly, remaining mindful that relevancy, for discovery

 purposes, is “construed broadly to encompass any matter that bears on, or that reasonably

 could lead to other matter that could bear on, any issue that is or may be in the case,”

 (Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351 (1978)), we find that such

 information is reasonably calculated to lead to the discovery of admissible evidence, and

 thus, GRANT Defendant’s motion.

        In consideration of the well-founded concerns raised by both the parties and the

 Magistrate Judge regarding the sensitivity of the information, Defendant has informed the

 Court that it would readily agree to a protective order to address those concerns. We

 agree that this information should be protected, and thus, the parties are HEREBY

 ORDERED to meet and confer no later than Tuesday, September 6, 2011, in an attempt to

 reach an agreed protective order regarding these materials and if despite the good faith of

 all counsel an agreement eludes their voluntary efforts, notice shall be provided to the

 Court forthwith so an appropriate resolution of the parties’ disagreement can be crafted.

 III.   Inventory Data

        Defendant finally objects to the Magistrate Judge’s refusal to order production of

 all “inventory lists, spreadsheets reflecting inventory, and other documents listing or

 otherwise recording inventory owned or possessed by Plaintiffs at any time during 2000

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 through the present.” We agree with the Magistrate Judge’s determination that this

 request, reaching back approximately ten years, is overly broad. However, this does not

 mean that the request for production must be denied in its entirety. Because choices

 regarding inventory are both the basis for Plaintiffs’ classification as an adult bookstore

 under the ordinance and have an impact on profit margins, we find the types of

 documents requested by Defendant (albeit from a narrower time period) are likely to lead

 to the discovery of relevant and admissible evidence related to Plaintiffs’ loss of profits.

 Thus, Plaintiffs are hereby ordered to produce the requested documents for the three-year

 time period directly prior to the filing of the instant lawsuit, to wit, from June 2000

 through June 2003, or to the period during which Plaintiffs intend to seek an award of

 damages against Defendant, whichever is longer.

        IT IS SO ORDERED.



              08/26/2011
 Date: ________________________________                     _______________________________
                                                             SARAH EVANS BARKER, JUDGE
                                                             United States District Court
                                                             Southern District of Indiana




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 Copies to:

 Lorraine R. Baumgardner
 BERKMAN GORDON MURRAY & DEVAN
 lbaumgardner@bgmdlaw.com

 Scott D. Bergthold
 LAW OFFICE OF SCOTT D. BERGTHOLD PLLC
 sbergthold@sdblawfirm.com

 Stephen S. Duggins
 LAW OFFICE OFSCOTT D. BERGTHOLD, PLLC
 sduggins@sdblawfirm.com

 Bryan A Dykes
 LAW OFFICE OF SCOTT D. BERHTHOLD, PLLC
 bdykes@sdblawfirm.com

 Jennifer Lynn Haley
 CITY OF INDIANAPOLIS, CORPORATION COUNSEL
 jhaley@indy.gov

 Richard Kammen
 GILROY, KAMMEN & HILL
 richard@kammenlaw.com

 Richard G. McDermott
 OFFICE OF CORPORATION COUNSEL
 rmcdermo@indygov.org

 J. Michael Murray
 BERKMAN GORDON MURRAY & DEVAN
 jmmurray@bgmdlaw.com

 Justin F. Roebel
 CITY OF INDIANAPOLIS, OFFICE OF CORPORATION COUNSEL
 jroebel@indygov.org

 Steven D. Shafron
 BERKMAN GORDON MURRAY & DEVAN
 sshafron@bgmdlaw.com

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